                         IN THE UNITED STATES DISTRICT COURT
                   FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                                        CHARLOTTE

Shene Bledsoe,                                      Case No.:

                   Plaintiff,

       vs.                                          COMPLAINT

Trans Union, LLC,
a Delaware limited liability company,               JURY TRIAL DEMAND
Equifax Information Services, LLC,
a Georgia limited liability company,
General Motors Financial Company, Inc.,
a Texas corporation,
First Premier Bank,
a South Dakota company, and
Utah Higher Education Assistance Authority,
a government agency,

                 Defendants.

       NOW COMES THE PLAINTIFF, SHENE BLEDSOE, BY AND THROUGH COUNSEL,

and for her Complaint against the Defendants pleads as follows:

                                       JURISDICTION

   1. Jurisdiction of this court arises under 15 U.S.C. § 1681p.

   2. This is an action brought by a consumer for violation of the Fair Credit Reporting Act (15

       U.S.C. § 1681, et seq. [hereinafter “FCRA”]).

                                           VENUE

   3. Venue is proper in the Western District of North Carolina as the transactions and

       occurrences that gave rise to this action occurred within the Western District of North

       Carolina.




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                                         PARTIES

4. Plaintiff is a natural person residing in Huntersville, Mecklenburg County, North Carolina.

5. The Defendants to this lawsuit are:

       a. Trans Union, LLC (“Trans Union”) is a Delaware limited liability company that

           conducts business in the State of North Carolina;

       b. Equifax Information Services, LLC (“Equifax”) is a Georgia limited liability

           company that conducts business in the State of North Carolina;

       c. General Motors Financial Company, Inc. (“GM Financial”) is a Texas corporation

           that conducts business in the State of North Carolina;

       d. First Premier Bank (“First Premier”) is a South Dakota company that conducts

           business in the State of North Carolina; and

       e. Utah Higher Education Assistance Authority (“UHEAA”) that conducts business

           in the State of North Carolina.



                             GENERAL ALLEGATIONS

6. GM Financial and First Premier are inaccurately reporting their trade lines in Plaintiff’s

   Trans Union credit file without a balance, monthly payment amount or notations reflecting

   Plaintiff’s payment toward the respective subject accounts.

7. Both trade lines should report a balance, monthly payment amount and payment activity,

   as the trade lines are included in Plaintiff’s Chapter 13 bankruptcy and the subject accounts

   are being paid pursuant to the bankruptcy plan.

8. Utah Higher Ed/Dept is inaccurately reporting its trade line as closed and included in

   bankruptcy on Plaintiff’s Equifax credit file.


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9. This is false, as its account was not included in Plaintiff’s Chapter 13 Bankruptcy.

10. The above trade lines are hereinafter referred to as “Errant Trade Lines.”

11. On or about September 22, 2016, Ms. Bledsoe filed for Chapter 13 bankruptcy.

12. On or about April 5, 2017, Ms. Bledsoe’s Chapter 13 bankruptcy plan was confirmed by

   the court.

13. On or about October 27, 2017, Ms. Bledsoe obtained her credit files and discovered GM

   Financial, First Premier and UHEAA inaccurately reporting the Errant Trade Lines.

14. On or about November 13, 2017, Ms. Bledsoe submitted letters to Equifax and Trans Union

   disputing the Errant Trade Lines, attached the bankruptcy petition, bankruptcy plan and the

   order confirming the bankruptcy plan to the letter and asked the credit bureaus to report

   the correct information.

15. Upon information and belief, Equifax and Trans Union forwarded Ms. Bledsoe’s dispute

   to GM Financial, First Premier and UHEAA.

16. On or about January 9, 2018, Ms. Bledsoe obtained her Trans Union credit file and noticed

   that GM Financial’s trade line continued to report without a balance, monthly payment

   amount or payment activity.

17. On or about January 9, 2018, Ms. Bledsoe obtained her Equifax credit file and noticed that

   First Premier’s trade line continued to report without a balance, monthly payment amount

   or payment activity.

18. Ms. Bledsoe further noticed that UHEAA’s trade line continued to report as closed and

   included in bankruptcy.

19. As a direct and proximate cause of the Defendants’ negligent and/or willful failure to

   comply with the Fair Credit Reporting Act, 15 U.S.C. § 1681, et seq., Plaintiff has suffered


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   credit and emotional damages. Due to the Defendants’ failure to correct the errors in her

   credit file, Plaintiff has been forced to refrain from applying for new credit or more

   favorable terms on existing credit lines. Plaintiff has also experienced undue stress and

   anxiety due to Defendants’ failure to correct the errors in her credit file or improve her

   financial situation by obtaining new or more favorable credit terms as a result of the

   Defendants’ violations of the FCRA

                                         COUNT I

NEGLIGENT VIOLATION OF THE FAIR CREDIT REPORTING ACT BY GM
                        FINANCIAL

20. Plaintiff realleges the above paragraphs as if recited verbatim.

21. After being informed by Trans Union of Ms. Bledsoe’s consumer dispute of the inaccurate

   balance and monthly payment amount on the Errant Trade Line, GM Financial negligently

   failed to conduct a proper investigation of Ms. Bledsoe’s dispute as required by 15 USC §

   1681s-2(b).

22. GM Financial negligently failed to review all relevant information available to it and

   provided by Trans Union in conducting its reinvestigation as required by 15 USC § 1681s-

   2(b), and failed to direct Trans Union to report the correct balance and monthly payment.

23. The Errant Trade Line is inaccurate and creating a misleading impression on Ms. Bledsoe’s

   consumer credit file with Trans Union to which it is reporting such trade line.

24. As a direct and proximate cause of GM Financial’s negligent failure to perform its duties

   under the FCRA, Ms. Bledsoe has suffered damages, mental anguish, suffering,

   humiliation, and embarrassment.




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   25. GM Financial is liable to Ms. Bledsoe by reason of its violations of the FCRA in an amount

       to be determined by the trier fact together with reasonable attorneys’ fees pursuant to 15

       USC § 1681o.

   26. Ms. Bledsoe has a private right of action to assert claims against GM Financial arising

       under 15 USC § 1681s-2(b).

       WHEREFORE, PLAINTIFF PRAYS that this court grants her a judgment against the

Defendant GM Financial for damages, costs, interest, and attorneys’ fees.

                                            COUNT II

      WILLFUL VIOLATION OF THE FAIR CREDIT REPORTING ACT BY GM
                             FINANCIAL

   27. Plaintiff realleges the above paragraphs as if recited verbatim.

   28. After being informed by Trans Union that Ms. Bledsoe disputed the accuracy of the

       information it was providing, GM Financial willfully failed to conduct a proper

       reinvestigation of Ms. Bledsoe’s dispute, and willfully failed to direct Trans Union to report

       the correct balance and monthly payment.

   29. GM Financial willfully failed to review all relevant information available to it and provided

       by Trans Union as required by 15 USC § 1681s-2(b).

   30. As a direct and proximate cause of GM Financial’s willful failure to perform its duties

       under the FCRA, Ms. Bledsoe has suffered damages, mental anguish, suffering,

       humiliation, and embarrassment.

   31. GM Financial is liable to Mr. Bledsoe for either statutory damages or actual damages she

       has sustained by reason of its violations of the FCRA in an amount to be determined by the

       trier fact, together with an award of punitive damages in the amount to be determined by




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       the trier of fact, as well as for reasonable attorneys’ fees and she may recover therefore

       pursuant to 15 USC § 1681n.

       WHEREFORE, PLAINTIFF PRAYS that this court grants her a judgment against the

Defendant GM Financial for the greater of statutory or actual damages, plus punitive damages,

along with costs, interest, and attorneys’ fees.

                                            COUNT III

   NEGLIGENT VIOLATION OF THE FAIR CREDIT REPORTING ACT BY FIRST
                             PREMIER

   32. Plaintiff realleges the above paragraphs as if recited verbatim.

   33. After being informed by Equifax of Ms. Bledsoe’s consumer dispute of the inaccurate

       balance and monthly payment amount on the Errant Trade Line, First Premier negligently

       failed to conduct a proper investigation of Ms. Bledsoe’s dispute as required by 15 USC §

       1681s-2(b).

   34. First Premier negligently failed to review all relevant information available to it and

       provided by Equifax in conducting its reinvestigation as required by 15 USC § 1681s-2(b),

       and failed to direct Equifax to report the correct balance and monthly payment.

   35. The Errant Trade Line is inaccurate and creating a misleading impression on Ms. Bledsoe’s

       consumer credit file with Equifax to which it is reporting such trade line.

   36. As a direct and proximate cause of First Premier’s negligent failure to perform its duties

       under the FCRA, Ms. Bledsoe has suffered damages, mental anguish, suffering,

       humiliation, and embarrassment.

   37. First Premier is liable to Ms. Bledsoe by reason of its violations of the FCRA in an amount

       to be determined by the trier fact together with reasonable attorneys’ fees pursuant to 15

       USC § 1681o.

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   38. Ms. Bledsoe has a private right of action to assert claims against First Premier arising under

       15 USC § 1681s-2(b).

       WHEREFORE, PLAINTIFF PRAYS that this court grants her a judgment against the

Defendant First Premier for damages, costs, interest, and attorneys’ fees.

                                           COUNT IV

    WILLFUL VIOLATION OF THE FAIR CREDIT REPORTING ACT BY FIRST
                             PREMIER

   39. Plaintiff realleges the above paragraphs as if recited verbatim.

   40. After being informed by Equifax that Ms. Bledsoe disputed the accuracy of the information

       it was providing, First Premier willfully failed to conduct a proper reinvestigation of Ms.

       Bledsoe’s dispute, and willfully failed to direct Equifax to report the correct balance and

       monthly payment.

   41. First Premier willfully failed to review all relevant information available to it and provided

       by Equifax as required by 15 USC § 1681s-2(b).

   42. As a direct and proximate cause of First Premier’s willful failure to perform its duties under

       the FCRA, Ms. Bledsoe has suffered damages, mental anguish, suffering, humiliation, and

       embarrassment.

   43. First Premier is liable to Mr. Bledsoe for either statutory damages or actual damages she

       has sustained by reason of its violations of the FCRA in an amount to be determined by the

       trier fact, together with an award of punitive damages in the amount to be determined by

       the trier of fact, as well as for reasonable attorneys’ fees and she may recover therefore

       pursuant to 15 USC § 1681n.




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       WHEREFORE, PLAINTIFF PRAYS that this court grants her a judgment against the

Defendant First Premier for the greater of statutory or actual damages, plus punitive damages,

along with costs, interest, and attorneys’ fees.

                                             COUNT V

  NEGLIGENT VIOLATION OF THE FAIR CREDIT REPORTING ACT BY UHEAA

   44. Plaintiff realleges the above paragraphs as if recited verbatim.

   45. After being informed by Equifax of Ms. Bledsoe’s consumer dispute of the inaccurate

       status on the Errant Trade Line, UHEAA negligently failed to conduct a proper

       investigation of Ms. Bledsoe’s dispute as required by 15 USC § 1681s-2(b).

   46. UHEAA negligently failed to review all relevant information available to it and provided

       by Equifax in conducting its reinvestigation as required by 15 USC § 1681s-2(b), and failed

       to direct Equifax to correct the inaccurate status on the Errant Trade Line.

   47. The Errant Trade Line is inaccurate and creating a misleading impression on Ms. Bledsoe’s

       consumer credit file with Equifax to which it is reporting such trade line.

   48. As a direct and proximate cause of UHEAA’s negligent failure to perform its duties under

       the FCRA, Ms. Bledsoe has suffered damages, mental anguish, suffering, humiliation, and

       embarrassment.

   49. UHEAA is liable to Ms. Bledsoe by reason of its violations of the FCRA in an amount to

       be determined by the trier fact together with reasonable attorneys’ fees pursuant to 15 USC

       § 1681o.

   50. Ms. Bledsoe has a private right of action to assert claims against UHEAA arising under 15

       USC § 1681s-2(b).




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       WHEREFORE, PLAINTIFF PRAYS that this court grants her a judgment against the

Defendant UHEAA for damages, costs, interest, and attorneys’ fees.

                                             COUNT VI

    WILLFUL VIOLATION OF THE FAIR CREDIT REPORTING ACT BY UHEAA

   51. Plaintiff realleges the above paragraphs as if recited verbatim.

   52. After being informed by Equifax that Ms. Bledsoe disputed the accuracy of the information

       it was providing, UHEAA willfully failed to conduct a proper reinvestigation of Ms.

       Bledsoe’s dispute, and willfully failed to direct Equifax to correct the inaccurate status.

   53. UHEAA willfully failed to review all relevant information available to it and provided by

       Equifax as required by 15 USC § 1681s-2(b).

   54. As a direct and proximate cause of UHEAA’s willful failure to perform its duties under the

       FCRA, Ms. Bledsoe has suffered damages, mental anguish, suffering, humiliation, and

       embarrassment.

   55. UHEAA is liable to Mr. Bledsoe for either statutory damages or actual damages she has

       sustained by reason of its violations of the FCRA in an amount to be determined by the

       trier fact, together with an award of punitive damages in the amount to be determined by

       the trier of fact, as well as for reasonable attorneys’ fees and she may recover therefore

       pursuant to 15 USC § 1681n.

       WHEREFORE, PLAINTIFF PRAYS that this court grants her a judgment against the

Defendant UHEAA for the greater of statutory or actual damages, plus punitive damages, along

with costs, interest, and attorneys’ fees.




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                                           COUNT VII

         NEGLIGENT VIOLATION OF THE FAIR CREDIT REPORTING ACT
                           BY TRANS UNION

   56. Plaintiff realleges the above paragraphs as if recited verbatim.

   57. Defendant Trans Union prepared, compiled, issued, assembled, transferred, published, and

       otherwise reproduced consumer reports regarding Ms. Bledsoe as that term is defined in

       15 USC § 1681a.

   58. Such reports contained information about Ms. Bledsoe that was false, misleading, and

       inaccurate.

   59. Trans Union negligently failed to maintain and/or follow reasonable procedures to assure

       maximum possible accuracy of the information it reported to one or more third parties

       pertaining to Ms. Bledsoe, in violation of 15 USC § 1681e(b).

   60. After receiving Ms. Bledsoe’s consumer dispute to the Errant Trade Line, Trans Union

       negligently failed to conduct a reasonable reinvestigation as required by 15 U.S.C. § 1681i.

   61. As a direct and proximate cause of Trans Union’s negligent failure to perform its duties

       under the FCRA, Ms. Bledsoe has suffered actual damages, mental anguish and suffering,

       humiliation, and embarrassment.

   62. Trans Union is liable to Ms. Bledsoe by reason of its violation of the FCRA in an amount

       to be determined by the trier fact together with her reasonable attorneys’ fees pursuant to

       15 USC § 1681o.

       WHEREFORE, PLAINTIFF PRAYS that this court grants her a judgment against Trans

Union for actual damages, costs, interest, and attorneys’ fees.

                                          COUNT VIII

           WILLFUL VIOLATION OF THE FAIR CREDIT REPORTING ACT

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                                       BY TRANS UNION

   63. Plaintiff realleges the above paragraphs as if recited verbatim.

   64. Defendant Trans Union prepared, compiled, issued, assembled, transferred, published, and

       otherwise reproduced consumer reports regarding Ms. Bledsoe as that term is defined in

       15 USC § 1681a.

   65. Such reports contained information about Ms. Bledsoe that was false, misleading, and

       inaccurate.

   66. Trans Union willfully failed to maintain and/or follow reasonable procedures to assure

       maximum possible accuracy of the information that it reported to one or more third parties

       pertaining to Ms. Bledsoe, in violation of 15 USC § 1681e(b).

   67. After receiving Ms. Bledsoe’s consumer dispute to the Errant Trade Line, Trans Union

       willfully failed to conduct a reasonable reinvestigation as required by 15 U.S.C. § 1681i.

   68. As a direct and proximate cause of Trans Union’s willful failure to perform its duties under

       the FCRA, Ms. Bledsoe has suffered actual damages, mental anguish and suffering,

       humiliation, and embarrassment.

   69. Trans Union is liable to Ms. Bledsoe by reason of its violations of the FCRA in an amount

       to be determined by the trier of fact together with her reasonable attorneys’ fees pursuant

       to 15 USC § 1681n.

       WHEREFORE, PLAINTIFF PRAYS that this court grants her a judgment against

Defendant Trans Union for the greater of statutory or actual damages, plus punitive damages along

with costs, interest, and reasonable attorneys’ fees.




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                                           COUNT IX

         NEGLIGENT VIOLATION OF THE FAIR CREDIT REPORTING ACT
                             BY EQUIFAX

   70. Plaintiff realleges the above paragraphs as if recited verbatim.

   71. Defendant Equifax prepared, compiled, issued, assembled, transferred, published, and

       otherwise reproduced consumer reports regarding Ms. Bledsoe as that term is defined in

       15 USC § 1681a.

   72. Such reports contained information about Ms. Bledsoe that was false, misleading, and

       inaccurate.

   73. Equifax negligently failed to maintain and/or follow reasonable procedures to assure

       maximum possible accuracy of the information it reported to one or more third parties

       pertaining to Ms. Bledsoe, in violation of 15 USC § 1681e(b).

   74. After receiving Ms. Bledsoe’s consumer dispute to the Errant Trade Lines, Equifax

       negligently failed to conduct a reasonable reinvestigation as required by 15 U.S.C. § 1681i.

   75. As a direct and proximate cause of Equifax’s negligent failure to perform its duties under

       the FCRA, Ms. Bledsoe has suffered actual damages, mental anguish and suffering,

       humiliation, and embarrassment.

   76. Equifax is liable to Ms. Bledsoe by reason of its violation of the FCRA in an amount to be

       determined by the trier fact together with her reasonable attorneys’ fees pursuant to 15 USC

       § 1681o.

       WHEREFORE, PLAINTIFF PRAYS that this court grants her a judgment against

Equifax for actual damages, costs, interest, and attorneys’ fees.

                                            COUNT X

           WILLFUL VIOLATION OF THE FAIR CREDIT REPORTING ACT

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                                          BY EQUIFAX

   77. Plaintiff realleges the above paragraphs as if recited verbatim.

   78. Defendant Equifax prepared, compiled, issued, assembled, transferred, published, and

       otherwise reproduced consumer reports regarding Ms. Bledsoe as that term is defined in

       15 USC § 1681a.

   79. Such reports contained information about Ms. Bledsoe that was false, misleading, and

       inaccurate.

   80. Equifax willfully failed to maintain and/or follow reasonable procedures to assure

       maximum possible accuracy of the information that it reported to one or more third parties

       pertaining to Ms. Bledsoe, in violation of 15 USC § 1681e(b).

   81. After receiving Ms. Bledsoe’s consumer dispute to the Errant Trade Lines, Equifax

       willfully failed to conduct a reasonable reinvestigation as required by 15 U.S.C. § 1681i.

   82. As a direct and proximate cause of Equifax’s willful failure to perform its duties under the

       FCRA, Ms. Bledsoe has suffered actual damages, mental anguish and suffering,

       humiliation, and embarrassment.

   83. Equifax is liable to Ms. Bledsoe by reason of its violations of the FCRA in an amount to

       be determined by the trier of fact together with her reasonable attorneys’ fees pursuant to

       15 USC § 1681n.

       WHEREFORE, PLAINTIFF PRAYS that this court grants her a judgment against

Defendant Equifax for the greater of statutory or actual damages, plus punitive damages along

with costs, interest, and reasonable attorneys’ fees.



                                         JURY DEMAND


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      Plaintiff hereby demands a trial by Jury.



DATED: January 26, 2018




                                                  By: /s/ Patrick Blair
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